                      IN THE SUPREME COURT OF NORTH CAROLINA

                                             2021-NCSC-110

                                              No. 501A20

                                      Filed 24 September 2021

      IN THE MATTER OF: L.H., I.H.


            Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 26

     August 2020 by Judge Burford A. Cherry in District Court, Catawba County. This

     matter was calendared for argument in the Supreme Court on 19 August 2021 but

     determined on the record and briefs without oral argument pursuant to Rule 30(f) of

     the North Carolina Rules of Appellate Procedure.


            Marcus P. Almond for petitioner-appellee Catawba County Department of
            Social Services.

            Michelle FormyDuval Lynch for appellee Guardian ad Litem.

            Jeffrey William Gillette for respondent-appellant mother.


            EARLS, Justice.

¶1          Respondent-mother appeals from the trial court’s order terminating her

     parental rights to her minor daughters, L.H. (Lucy) and I.H. (Ingrid).1 We affirm.

                                        I.     Background

¶2          The record shows that Catawba County Department of Social Services (DSS)

     has a long history of involvement with respondent and her children. DSS filed a


            1 Pseudonyms are used to protect the identity of the juveniles, as well as their minor

     sibling mentioned in this opinion, and for ease of reading.
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juvenile petition regarding one-month-old Lucy and three of her older siblings in

December 2005 and then filed a second petition and obtained nonsecure custody of

the children in January 2006.2 Following a hearing on the petitions conducted over

the course of February, March, and April 2006, the trial court entered an order on 7

June 2006 that adjudicated Lucy and her siblings neglected juveniles and granted

DSS custody of the juveniles. The adjudication was based on findings that the

children’s biological father, from whom respondent was divorced, had twice been

convicted of indecent liberties, once for conduct involving two of his sisters and once

for conduct involving another juvenile family member; had engaged in inappropriate

sexual contact with his oldest daughter; and posed a significant risk of further sexual

abuse. The court further found that respondent was aware of the father’s convictions

but did little to protect the children, did not believe the children were at risk, and

refused to agree to prevent the father from further contact with Lucy. Respondent

allowed the children to visit the paternal grandmother’s home despite a history of

inappropriate sexual conduct in the family, left the children in the supervision of an

individual who was involved in an active Child Protective Services (CPS)

investigation, and lived with the children in an unsafe environment. With the father

in prison, respondent made significant progress on her case plan by the time the

matter came on for a review hearing on 27 June 2006, and the children had been


      2 Lucy was born in November 2005. Ingrid was born in December 2007.
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     returned to her care. In the order entered after the review hearing, the trial court

     returned custody of the children to respondent.

¶3         Nine years later, on 3 November 2015, DSS filed a juvenile petition alleging

     that nine-year-old Lucy, seven-year-old Ingrid, and their fifteen-year-old sister Sarah

     were neglected juveniles and obtained nonsecure custody of the children. Following a

     hearing in February 2016, the trial court entered an order on 1 March 2016 that

     adjudicated the children neglected juveniles based on the following findings: that

     respondent and the children were residing with an individual, Charles Fleming, who

     had previously been charged with felony indecent liberties with a child and convicted

     of assault on a child and had been separately convicted of misdemeanor contributing

     to the delinquency of a juvenile; that respondent refused to sign an agreement

     specifying there would be no unsupervised contact between Mr. Fleming and the

     children and continued to live with Mr. Fleming and leave the children in his care

     unsupervised; that respondent admitted to a social worker that Sarah had been

     sleeping in the same bed with Mr. Fleming; and that, despite the parties’ denials,

     evidence indicated a sexual relationship existed between Sarah and Mr. Fleming. The

     trial court granted custody of the children to DSS. Respondent cooperated with

     services offered by DSS, and the matter came on for regular review and permanency-

     planning hearings until the trial court returned Lucy and Ingrid to respondent’s

     custody by order entered 22 May 2018.
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¶4         On 18 March 2019, DSS filed the most recent juvenile petition alleging

     thirteen-year-old Lucy and eleven-year-old Ingrid were abused and neglected

     juveniles and obtained nonsecure custody of the children. The petition alleged that

     respondent’s boyfriend, Johnny Gortney, who was also a caretaker for the children,

     had inappropriately touched Ingrid “both over and under her clothes on her ‘boobs’

     and genital area, using his hands and fingers[,]” on more than one occasion between

     August and December 2018; and he had inappropriately touched Lucy “over her

     clothes on her ‘boobs’ with his hand” on more than one occasion in November 2018.

     Following a hearing on 22 April 2019, the trial court entered an order on 23 May 2019

     that adjudicated Lucy and Ingrid abused and neglected juveniles based on findings

     that were consistent with the allegations in the petition. The trial court ordered that

     DSS retain custody of the children and that respondent comply with a case plan with

     requirements to complete an updated psychological evaluation, a parenting

     assessment, a non-offending parenting program, individual counseling, and therapy

     with the children. The court allowed respondent weekly supervised visitation with

     the children but ordered Mr. Gortney not to have contact with the children.

¶5         In an order entered on 29 August 2019 following a 29 July 2019 permanency-

     planning hearing, the trial court set the primary permanent plan for the children as

     reunification and the secondary plan as adoption. The court’s findings indicated

     respondent was availing herself of services, but the court expressed concern that
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     respondent had not proven capable of protecting the children from sexual abuse by

     members of their household despite CPS’s long history of involvement with the family

     and the extensive services provided. The court specifically identified respondent’s

     failure to demonstrate that she could keep her children safe from risk as a barrier to

     reunification.

¶6         Following the next permanency-planning hearing on 21 October 2019, the trial

     court entered an order on 22 November 2019 that changed the primary permanent

     plan for the children to adoption with a concurrent secondary plan of reunification

     and guardianship. The change in the permanent plan was based, in part, on the

     results of respondent’s psychological evaluation reassessment, which indicated “the

     combination of [respondent’s] mental health and cognitive limitations result[ed] in

     her inability to effectively and safely parent and protect her children” and that “it

     [was] not likely that any service provided to [respondent] could significantly alter her

     inability to parent and protect her children.” The court further found the results were

     validated by its own history with and observation of respondent. Specifically, the

     court found a clear pattern had emerged, whereby the children were exposed to men

     with histories of committing sexual offenses and were sexually abused; then the

     children were removed from the home, respondent participated in services and

     demonstrated some improvement, and the children were returned to respondent’s

     care for the cycle of abuse to be repeated. The court also found that respondent
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     disbelieved the sexual abuse even occurred and believed the abusers over her

     children.

¶7          On 27 November 2019, DSS filed a motion in the cause to terminate

     respondent’s parental rights in Lucy and Ingrid on the grounds of neglect, willfully

     leaving the children in a placement outside the home for more than twelve months

     without a showing of reasonable progress, and dependency. See N.C.G.S. § 7B-

     1111(a)(1)–(2), (6) (2019). Respondent filed a reply denying that grounds existed to

     terminate her parental rights. A termination hearing began on 2 June 2020 and

     continued on 1, 14, and 15 July 2020.3 The trial court entered an order on 26 August

     2020 that adjudicated the existence of all three grounds for termination alleged in

     the motion, concluded termination of respondent’s parental rights was in Lucy’s and

     Ingrid’s best interests, and terminated respondent’s parental rights in both children.

     Respondent appeals.

                                         II.   Analysis

¶8          Respondent challenges the trial court’s adjudication of the existence of grounds

     to terminate her parental rights pursuant to N.C.G.S. § 7B-1111(a)(1), (2), and (6).

¶9          “Our Juvenile Code provides for a two-step process for termination of parental

     rights proceedings consisting of an adjudicatory stage and a dispositional stage.” In



            3 The matter was also before the trial court on 9 July 2020 for a hearing on a motion

     to quash a subpoena requiring the children to testify during the dispositional stage of the
     termination hearing. Only the motion was considered on 9 July 2020.
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       re Z.A.M., 374 N.C. 88, 94 (2020) (citing N.C.G.S. §§ 7B-1109, -1110 (2019)). “At the

       adjudicatory stage, the petitioner bears the burden of proving by ‘clear, cogent, and

       convincing evidence’ the existence of one or more grounds for termination under

       section 7B-1111(a) of the General Statutes.” In re A.U.D., 373 N.C. 3, 5–6 (2019)

       (quoting N.C.G.S. § 7B-1109(f) (2017)). This Court reviews a trial court’s adjudication

       of grounds for termination “to determine whether the findings are supported by clear,

       cogent and convincing evidence and the findings support the conclusions of law.” In

       re Montgomery, 311 N.C. 101, 111 (1984) (citing In re Moore, 306 N.C. 394, 404
       (1982)). “A trial court’s finding of fact that is supported by clear, cogent, and

       convincing evidence is deemed conclusive even if the record contains evidence that

       would support a contrary finding.” In re B.O.A., 372 N.C. 372, 379 (2019). “Findings

       of fact not challenged by respondent are deemed supported by competent evidence

       and are binding on appeal.” In re T.N.H., 372 N.C. 403, 407 (2019) (citing Koufman

       v. Koufman, 330 N.C. 93, 97 (1991)). “Moreover, we review only those findings

       necessary to support the trial court’s determination that grounds existed to terminate

       respondent’s parental rights.” Id. “The trial court’s conclusions of law are reviewed

       de novo.” In re M.C., 374 N.C. 882, 886 (2020).

¶ 10         A trial court may terminate parental rights if it concludes the parent has

       neglected the juvenile within the meaning of N.C.G.S. § 7B-101. N.C.G.S. § 7B-

       1111(a)(1). A neglected juvenile is statutorily defined, in pertinent part, as one “whose
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       parent, guardian, custodian, or caretaker does not provide proper care, supervision,

       or discipline; . . . or who lives in an environment injurious to the juvenile’s welfare.”

       N.C.G.S. § 7B-101(15) (2019). As we have recently explained:

                    Termination of parental rights based upon this statutory
                    ground requires a showing of neglect at the time of the
                    termination hearing or, if the child has been separated
                    from the parent for a long period of time, there must be a
                    showing of a likelihood of future neglect by the parent.
                    When determining whether such future neglect is likely,
                    the district court must consider evidence of changed
                    circumstances occurring between the period of past neglect
                    and the time of the termination hearing.

       In re R.L.D., 375 N.C. 838, 841 (2020) (cleaned up).

¶ 11         In the instant case, the trial court issued findings detailing DSS’s long history

       of involvement with the family and Lucy’s and Ingrid’s prior adjudications as

       neglected juveniles. The court also issued findings regarding the services offered to

       respondent throughout DSS’s involvement and respondent’s cooperation with those

       services. The court ultimately determined there was a substantial likelihood that the

       children would again be neglected if returned to respondent’s care based on findings

       that, despite her cooperation with services, respondent failed to take any

       responsibility for her role in the abuse and neglect of the children, continued to

       disbelieve the children were abused and neglected, and failed to demonstrate the

       ability to protect her children.

¶ 12         Respondent does not contest that Lucy and Ingrid were previously adjudicated
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       neglected juveniles. Instead, while acknowledging that “the [trial] court made many

       findings of fact that could, conceivably, bear on the likelihood of future neglect,” she

       nevertheless contends the trial court’s findings failed to establish there was current

       neglect or a likelihood of future neglect.

¶ 13         To understand the robust factual basis for the trial court’s ruling on this

       ground, it is useful to review the findings relevant to its adjudication of neglect, which

       are as follows:

                    5. On or about April 17, 2006, the minor child [Lucy] and
                    her three older siblings were adjudicated neglected, based
                    in part on the refusal of [respondent] to protect the children
                    from contact with their biological father who was convicted
                    in 1986 for taking indecent liberties with two of his sisters,
                    was convicted in 2006 of taking indecent liberties with his
                    sixteen-year-old female relative and who had also engaged
                    in inappropriate sexual contact with the couple’s oldest
                    daughter. . . .

                    6. On February 1, 2016, the minor children [Lucy] and
                    [Ingrid], as well as their older sister [Sarah] were
                    adjudicated neglected. This time the adjudication was
                    based in part on [respondent] leaving her children in the
                    care of Charles Fleming and allowing her then sixteen-
                    year-old daughter [Sarah] to sleep in the same bed with Mr.
                    Fleming, who was an adult. After [DSS] warned
                    [respondent] of their concerns related to Mr. Fleming’s
                    prior charge [of] Indecent Liberties with a Minor which
                    resulted in a conviction of Assault on a Child under 12,
                    [respondent] refused to sign a safety plan prohibiting Mr.
                    Fleming’s unsupervised contact with her children, and she
                    continued to leave the children in his care.

                    7. On April 22, 2019, [Lucy] and [Ingrid] were adjudicated
                    abused and neglected and once again placed in the custody
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of [DSS], after their mother’s boyfriend Johnny Gortney
touched [Ingrid] on more than one occasion on her “boobs”
and genital area and touched [Lucy] on her “boobs.” . .

....

9. Over the course of the family’s involvement with [DSS],
[respondent] has been offered a variety of services to
improve her parenting skills and assist her in developing
an ability to protect her children from abuse and neglect.
While the children were in foster care during 2006, these
services included but were not limited to completion of the
Nonoffending Parents’ Group (education and therapy
group for parents of children who have been abused),
individual therapy, and GED classes. After the children
were removed in 2015, these services included
psychological evaluation, Darkness to Light (education
program related to the prevention of child sexual abuse),
individual therapy, one-on-one parenting instruction, and
in-home family therapy. Since the children’s most recent
removal, these services have included but are not limited
to updated psychological evaluation, individual therapy,
one-on-one review of Nonoffending Parents Group
materials.

10. Each time that the children have been in foster care,
[respondent] has been cooperative with services offered by
[DSS].

11. Dr. Jennifer Cappelletty, clinical psychologist, has
evaluated [respondent] on three occasions, May 16, 2016,
November 10, 2017 and September 29, 2019.

12. During the first evaluation on May 16, 2016,
[respondent] reported to the psychologist that she did not
believe that her late husband had committed the sexual
offenses that resulted in his felony convictions and
incarceration, reporting that he only confessed so that she
wouldn’t lose all of her children. When questioned about
whether she believed that her husband had abused her
daughter, as adjudicated by the [c]ourt, she stated she did
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not know because she did not see it. Such statements are
consistent with [respondent’s] statements during her
testimony during these proceedings.

13. [Respondent] has a full[-]scale IQ of approximately 63,
placing her in the extremely low range for intellectual
abilities. As a result, [respondent] has an extremely limited
general fund of knowledge, poor abstract reasoning skills,
and an elementary vocabulary. She tends to think in very
concrete terms, such that once she is taught something, she
may be able to repeat the skill or phrases[ ] but has
difficulty . . . apply[ing] her learning to new circumstances
and decisions. She has been diagnosed with Intellectual
Disability, Mild.

14. Psychological testing with [respondent] was limited by
her cognitive difficulties; however, Dr. Cappelletty noted
dependent personality characteristics, such that
[respondent] has a pervasive need to be taken care of, she
is dependent on others when making decisions, and she
tends to go from one relationship to another. Dr.
Cappelletty testified and the [c]ourt finds that
[respondent’s] cognitive limitations coupled with her
dependent personality tends to hinder her judgment when
making decisions about her relationships and how those
relationships may impact her children.

15. When [respondent] is confronted with facts that
contradict her beliefs, such as her beliefs about her
husband’s, Mr. Fleming’s or Mr. Gortney’s threat to her
children, she tends to become defensive and to reject
evidence of such a threat. Her typical stance on any of these
issues tends to be that she does not believe any abuse
occurred (or she doesn’t know) because she did not see it.
She accepts only minimal responsibility for the repeated
removals of her children from her care. Such reactions,
observed by Dr. Cappelletty during all three of her
evaluations, are consistent with the behaviors and
statements observed by this [c]ourt during these
proceedings.
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16. Intellectual limitation, such as that exhibited by
[respondent] is highly unlikely to change, and this
limitation is further complicated by [respondent’s]
dependent personality structure, which is also unlikely to
change without long-term treatment. [Respondent] would
have difficulty benefitting from such treatment due to her
cognitive limitations.

17. Over the course of the [c]ourt’s involvement with the
family, [respondent] has learned to articulate some basic
concrete tasks of parenting, such as the need to provide
increased supervision for her children, the need to
supervise their access to phones and social media, and the
need to behave as a parent rather than a friend to her
children. However, based on her intellectual limitations,
[respondent] remains unable to apply those concepts to
new scenarios that might arise during parenting.
[Respondent] lacks the ability to extrapolate things she
may have learned to situations that had not yet presented
themselves in caring for her children. In short, while
[respondent] had gained some new concepts, her ability to
exercise judgment had not improved.

18. During her third evaluation by Dr. Cappelletty in
September 2019, and during her testimony in this [c]ourt,
[respondent] was reluctant to acknowledge that her
children were abused by Mr. Gortney. She repeatedly
stated that she simply did not know what happened
because she had not seen it. She was unwilling to believe
what her children stated about the abuse and she did not
demonstrate a desire to understand what her children had
gone through.

19. During her evaluations and during these proceedings,
[respondent] has not acknowledged any personal
responsibility for her children’s placement in foster care.
She continues to blame her family for calling in CPS
reports, to blame [DSS] for Mr. Gortney being in her home,
and even to blame her own children.

20. Upon learning of [Lucy’s] and [Ingrid’s] statements that
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Mr. Gortney had acted in sexually inappropriate ways
toward them, [respondent] did contact [DSS]. After the
children’s most recent removal, [respondent] did report
when one of the children had an unauthorized phone. Thus,
[respondent] has perhaps learned how to react to the
sexual abuse of her children; however, there is no evidence
that she has learned sufficient skills to proactively protect
her children from harm.

21. [Respondent] has demonstrated a long-term pattern of
difficulty believing that her children have been abused. She
has expressed disbelief that her oldest daughter was
abused by her father. She has repeatedly stated her
disbelief that her now deceased husband abused anyone,
despite his own admission of guilt and his convictions for
abusing multiple individuals. When [Lucy] and [Ingrid]
were interviewed following the abuse by Mr. Gortney,
[respondent] refused to hear the results of those
interviews. She has demonstrated a long-term pattern of
denial and of failure to believe her own children over the
men that abuse them.

22. Given their history of abuse, [Lucy] and [Ingrid] are
likely to display sexualized behaviors and to require an
even greater level of parental competence, vigilance, and
skill. [Respondent] is likely unable to provide the level of
care and supervision her children need.

23. . . . During the time that [Lucy] and [Ingrid] resided
with [respondent] and [Mr.] Gortney, [their older sister
Sarah] visited the home. [Sarah] had concerns about Mr.
Gortney because he smacked her on the butt and because
[Lucy] and [Ingrid] told her that he had touched them.
[Sarah] reported her concerns to [respondent] who told her
that she didn’t believe her.

24. In or about March 2020, [Sarah] met [respondent] for
dinner at Denny’s in Lincolnton, and [Mr.] Gortney was
present with [respondent]. [Respondent’s] continued
association with Mr. Gortney, including having him at a
dinner where her daughter [Sarah], who has previously
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                    expressed concerns about him, is indicative of her failure
                    to place the needs of her children above her own or to
                    demonstrate an ability and willingness to protect [t]he
                    children.

                    25. Despite her cooperation with services over a period of
                    years, [respondent] has failed to take responsibility for her
                    role in the abuse and neglect of her children. She has failed
                    to demonstrate the ability to believe her children and to
                    protect them from maltreatment.

                    ....

                    27. There is a significant likelihood that the minor children
                    would again be abused or neglected if returned to the care
                    of their mother.

¶ 14         The only finding respondent specifically challenges as not supported by any

       evidence is finding of fact seventeen. Respondent contends the portions of finding of

       fact seventeen providing that she lacks the ability to extrapolate and apply recently

       acquired skills to circumstances that arise in parenting the children is not supported

       by the evidence and is contradicted by finding of fact twenty. We agree. The trial court

       found in finding of fact twenty that “[u]pon learning of [Lucy’s] and [Ingrid’s]

       statements that Mr. Gortney had acted in sexually inappropriate ways toward them,

       [respondent] did contact [DSS,]” and “[a]fter the children’s most recent removal,

       [respondent] did report when one of the children had an unauthorized phone.” Thus,

       finding of fact twenty showed that respondent applied learned parenting concepts on

       at least two occasions. Accordingly, we disregard the challenged portions of finding of

       fact seventeen to the extent the finding implies respondent was unable to apply
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       anything she learned through her participation in services. See In re J.M., 373 N.C.

       352, 358 (2020) (disregarding factual findings not supported by the record).

¶ 15         Although respondent does not otherwise challenge the trial court’s findings as

       unsupported by evidence, respondent does argue the trial court’s findings concerning

       the impact of her cognitive limitations and dependent personality on her

       understanding of the causes and prevention of sexual abuse and her ability to keep

       Lucy and Ingrid safe are based on speculation and run counter to other evidence of

       her positive changes adduced at the termination hearing. She specifically identifies

       findings of fact fourteen, sixteen, seventeen, twenty, and twenty-two as speculative

       and counter to other evidence. Respondent’s argument essentially asks this Court to

       reweigh the evidence and place greater weight on her own testimony and the

       testimony of her therapist regarding her progress in addressing her parenting issues.

¶ 16         It is the trial court’s duty, however, to consider the evidence and pass upon the

       credibility of the witnesses, see In re T.N.H., 372 N.C. at 411 (citing In re D.L.W., 368

       N.C. 835, 843 (2016)), and this Court will not reweigh the evidence. Here, the trial

       court’s findings concerning the impediment that respondent’s cognitive limitations

       and dependent personality posed to her in making significant parenting changes in

       order to protect Lucy and Ingrid from further harm are supported by the testimony

       of Dr. Cappelletty, who evaluated respondent three times between 2016 and 2019

       with the specific purpose of assessing her capacity to parent and protect her children.
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       Dr. Cappelletty testified as an expert in clinical psychology about her conclusions

       from each assessment, including the impact of respondent’s cognitive limitations and

       dependent personality, and the combination of the two, on her ability to learn and

       implement positive parenting behaviors. Dr. Cappelletty continued to express

       concern about respondent’s ability to protect the children as of the termination

       hearing, testifying that while she believed respondent was better equipped to respond

       to abuse of the children after the fact, there was no indication that respondent was

       prepared to proactively prevent the children from being abused in the first place. She

       concluded there had been no significant change since she became involved in

       respondent’s case, and the pattern of neglect was likely to continue. The challenged

       findings reflect Dr. Cappelletty’s testimony; are supported by clear, cogent, and

       convincing evidence; and are binding on appeal. See In re B.O.A., 372 N.C. at 379.

¶ 17         Additionally, we note that while any determination of a likelihood of future

       neglect is inevitably predictive in nature, the trial court’s findings were not based on

       pure speculation. Not only are the findings supported by Dr. Cappelletty’s testimony,

       but the findings were also validated by the pattern of past neglect of the children due,

       in part, to respondent’s repeated failure to comprehend and protect the children from

       the risks of harm to which she exposed them, despite her cooperation with services

       intended to address her parenting deficiencies.

¶ 18         Respondent also asserts challenges to the trial court’s findings concerning her
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       doubts or disbelief that her children have been abused in findings of fact twelve,

       fifteen, eighteen, twenty-one, and twenty-three; her continued association with Mr.

       Gortney as recent as March 2020, which the court found “indicative of her failure to

       place the needs of her children above her own or to demonstrate an ability and

       willingness to protect [t]he children” in finding of fact twenty-four; and her refusal to

       acknowledge her role in and accept responsibility for the adjudications of neglect in

       findings of fact nineteen and twenty-five. Again, respondent does not argue the

       findings are not supported by evidence. She instead attempts to rationalize her beliefs

       and behaviors. She asserts that she had reasons to doubt the allegations of sexual

       abuse; that she disputed the portion of Sarah’s testimony from the termination

       hearing that respondent brought Mr. Gortney to dinner in early 2020 and denied that

       it ever happened, yet respondent claimed even if she did have dinner with Mr.

       Gortney that it did not violate the court order that he not have contact with Lucy or

       Ingrid; that DSS and the court were to blame for her relationship with Mr. Gortney

       and the most recent adjudication of neglect; and that her denial of responsibility was

       fair and reasonable because the questions presented to her at the termination hearing

       were confusing, and the record does not indicate the sexual abuse of her children was

       the result of anything she did or did not do.

¶ 19         Respondent’s assertions here tend to confirm the trial court’s findings that she

       continues to doubt that Lucy and Ingrid were abused and fails to accept any
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       responsibility. However, for purposes of our review of the challenged findings, it is

       sufficient that the findings are supported by Dr. Cappelletty’s testimony, Sarah’s

       testimony, and respondent’s own testimony at the termination hearing, as well as the

       record evidence. The findings are therefore binding on appeal. See In re B.O.A., 372

       N.C. at 379.

¶ 20         Upon review of the relevant findings, we believe the findings show a pattern of

       neglect that is likely to be repeated if Lucy and Ingrid are returned to respondent’s

       care. Specifically, the undisputed findings detail three prior adjudications of neglect

       that resulted from respondent’s exposure of the children to men with histories of child

       sexual abuse and her failure to protect the children in their own home, with the

       second and third adjudications occurring after respondent began cooperating with

       services to address parenting concerns. The findings and evidence also show that

       respondent’s cognitive limitations and dependent personality continue to be a concern

       related to her ability to appropriately supervise the children and protect them from

       future abuse. Furthermore, respondent continues to express doubt that the children

       were abused and fails to acknowledge her own role in their neglect. The combination

       of these findings supports the trial court’s determination that there is a substantial

       likelihood of future neglect if Lucy and Ingrid are returned to respondent’s care. In

       turn, the past adjudications of neglect coupled with the determination that there was

       a likelihood of future neglect support the trial court’s adjudication of the existence of
                                          IN RE L.H., I.H.

                                           2021-NCSC-110

                                         Opinion of the Court



       grounds for termination pursuant to N.C.G.S. § 7B-1111(a)(1).

¶ 21            Because “an adjudication of any single ground in N.C.G.S. § 7B-1111(a) is

       sufficient to support a termination of parental rights[,]” In re E.H.P., 372 N.C. 388,

       395 (2019), we need not address respondent’s arguments as to grounds for

       termination pursuant to N.C.G.S. § 7B-1111(a)(2) and (6). Furthermore, because

       respondent has not challenged the trial court’s determination that termination of her

       parental rights was in Lucy’s and Ingrid’s best interests, we affirm the termination

       order.

                AFFIRMED.
